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           Type    Date   Item                                       Qty    Sales Price Amount Balance
LOCTARMO
            Invoice 7/7/15 30P6A67SP (3000 PSI 6 Big Rock--2 PUMP)      5         171     855      855
            Invoice 7/7/15 30P6A67SP (3000 PSI 6 Big Rock--2 PUMP)     10         171    1710     2565
            Invoice 7/7/15 30P6A67SP (3000 PSI 6 Big Rock--2 PUMP)     10         171    1710     4275
Total LOCTARMO                                                         25                4275     4275
